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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  KATE GRANT and KARMANN KASTEN,
  LLC,
                                                           DEFENDANT MILLCREEK
  Plaintiffs,                                            COMMERCIAL PROPERTIES, LLC
                                                          AND KEVIN LONG’S RULE 7.1
  v.                                                       DISCLOSURE STATEMENT

  KEVIN LONG, MILLCREEK
  COMMERCIAL PROPERTIES, LLC, et al.                        Case No. 2:23-0936-AMA-CMR

  Defendants.                                                Judge Ann Marie McIff Allen

                                                          Magistrate Judge Cecilia M. Romero


        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendants Millcreek

 Commercial Properties, LLC (“Millcreek”) and Kevin Long (“Long”), through their undersigned

 counsel, hereby disclose the following.

        Millcreek is an inactive Utah limited liability company that was voluntarily dissolved as of

 February 1, 2025. Millcreek does not have a parent corporation, and no publicly held corporation
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 owns 10% or more of its stock or membership interests. Jurisdiction in this case is not based on

 diversity under 28 U.S.C. § 1332(a).

        Long is an individual, not an entity. So no entity information is required for Long under

 Rule 7.1.

        DATED: February 21, 2025

                                        PARR BROWN GEE & LOVELESS

                                        By: /s/ Bentley J. Tolk
                                               Bentley J. Tolk
                                               Rodger M. Burge


                                        Attorneys for Kevin Long and Millcreek Commercial, LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 21, 2025, I caused to be served a true and correct copy of

 the foregoing DEFENDANT MILLCREEK COMMERCIAL PROPERTIES, LLC AND

 KEVIN LONG’S CORPORATE DISCLOSURE STATEMENT via the CM/ECF system,

 which automatically provided notice to all counsel of record.


 By: /s/ Bentley J. Tolk
